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 6                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
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 8   SCANNING TECHNOLOGIES
     INNOVATIONS LLC,                                    Civil Action No. Case No. 2:19-cv-1002-RAJ
 9
                           Plaintiff,
10
            v.                                            MOTION FOR DEFAULT JUDGMENT
11
     SMARTOSC US LLC,                                     NOTE ON MOTION CALENDAR: APRIL 22, 2020
12
                           Defendant.
13
14
15
            Plaintiff, Scanning Technologies Innovations LLC (“STI”) hereby submits this Motion For
16
17   Default Judgment.

18          1.      On June 27, 2019, Plaintiff filed its Original Complaint against Smartosc US LLC

19   (Dkt. 1) alleging infringement of U.S. Patent No. 9,466,078. Defendant Smartosc US LLC was served
20   on July 3, 2019. Defendant was required to file an answer to the complaint on July 24, 2019.
21
            2.      To date Defendant Smartosc US LLC has not filed an answer or otherwise responded
22
     to the complaint.
23
            3.      On September 9, 2019 Plaintiff Scanning Technologies LLC filed its Motion For
24
25   Entry of Default Judgment (Dkt. 9). The court entered the Clerk’s Entry of Default on September 10,

26   2019 (Dkt. 11). To date, Defendant has not filed an answer to the Original Complaint.
27          4.      Plaintiff respectfully submits that damages should be based upon a reasonable royalty
28

      MOTION FOR DEFAULT JUDGMENT                                      1
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     and that the reasonable royalty should be calculated as set forth in the Affidavit of Leigh Rothschild
 1
 2   (Exhibit A); see paragraphs 4-8. The amount of a reasonable royalty according to this calculation is

 3   $1,071,000.

 4           5.     At a minimum, damages should be no lower than $50,000. See Exhibit A, paragraphs
 5   9-11.
 6
             6.     Plaintiff respectfully asks this court to enter a default judgment in favor of Plaintiff
 7
     ordering Defendant to pay Plaintiff an amount of damages of $1,071,000, but no less than $50,000.
 8
             Plaintiff Scanning Technologies Innovations LLC therefore moves the Court for an order of
 9
10   Default Judgment.

11   Dated: April 22, 2020                             Respectfully Submitted,
12
                                                       By: /s/ Nicholas Ranallo
13
                                                         Nicholas Ranallo
14                                                       NICHOLAS RANALLO, ATTORNEY AT
                                                         LAW
15                                                       5058 57th Ave. South
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                                                           ATTORNEYS FOR PLAINTIFF
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     MOTION FOR DEFAULT JUDGMENT
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